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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES,                                 )
                                               )
             Plaintiff,                        )      No. 17 CR 00082
                                               )
       v.                                      )
                                               )      Judge Edmond E. Chang
ALLEN YOUNG,                                   )
                                               )
             Defendant.                        )

                                        ORDER

       At the January 9, 2018 pretrial conference, the Court ordered additional
briefing on Defendant’s motion to admit evidence of witnesses’ acts of prostitution
under Federal Rule of Evidence 412. Both the government and the Defendant have
filed additional position papers on the issue. The motion is granted in part, denied
in part, and reserved in part as detailed below.

                                   I. Background

       Under Rule 412, in a criminal proceeding involving alleged sexual
misconduct, evidence offered to prove a victim’s sexual predisposition or that a
victim engaged in other sexual behavior is generally prohibited. Here, Defendant
has argued that the proposed evidence is admissible under an exception to Rule
412’s bar, because in a criminal case the Court must admit evidence whose
“exclusion would violate the defendant’s constitutional rights.” Fed. R. Evid.
412(b)(1)(C). After extensive discussion at the pretrial conference, the Court ordered
Defendant to supplement the motion in limine with the specific proposed evidence of
prostitution activity. After the pretrial conference, the Court granted the
government’s motion to narrow the indictment by dropping the “recruit” and
“entice” elements/means1 from 18 U.S.C. § 1591(a)(1). Defendant filed the
supplement, R. 114, and the government responded, R. 119. What follows are the
decisions for each specified piece of evidence.



1 Whether “recruit” and “entice” are elements or means is the subject of an instructions
dispute.
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                                     II. Analysis

       The decisions on each piece of evidence can be split up into four categories: (1)
evidence of prior or subsequent prostitution; (2) improper impeachment evidence;
(3) relevant prostitution evidence during charged time periods; and (4) non-sexual
fact evidence. The former two are inadmissible; the latter two are allowed. For a few
pieces of evidence, more information is needed before deciding, so those are
reserved. The four grounds for decision are described next, followed by a chart that
specifies which category covers a specific piece of evidence.

       1. Evidence of prior or subsequent prostitution outside the charged
time periods. As noted above, Rule 412 generally bars evidence of prior or
subsequent prostitution to prove other sexual behavior, and that form of evidence
raises the prototypical concern that the jury will rely on unfairly prejudicial
character judgments against the minors and will attach outsized relevance to other
prostitution activity, when the actual issue at trial is whether Defendant trafficked
them, not whether someone else trafficked them or whether they engaged in
prostitution themselves before or after the charged time periods. This is especially
true now that the indictment has been narrowed so that “recruit” and “entice” are
no longer elements/means of the charges. So excluding prior or subsequent
prostitution activity is no longer reasonably necessary under the Confrontation
Clause or the Due Process Clause. Defendant’s argument that the element/means of
“maintains” warrants the evidence is rejected: “maintains” is narrower than
“recruit” or “entice,” and prior or subsequent prostitution activity does not bear on
whether Defendant allegedly maintained the minors (or, at the least, even if it has
some modest probative value, it is substantially outweighed by the unfair prejudice
of an improper character evaluation by the jury, Fed. R. Evid. 403). Prior or
subsequent prostitution is inadmissible and do not fall into a Rule 412 exception.

       2. Improper impeachment evidence. Several of Defendant’s proposals
actually assume that he must be able to introduce any evidence of sexual activity
when a minor has either (a) made an inconsistent statement about it or (b) some
other witness or evidence contradicts the minor’s statement about the sexual
activity (or the absence of sexual activity). But Rule 412 applies to all evidence
“whether offered as substantive evidence or for impeachment ….” Fed. R. Evid. 412,
1994 Advisory Committee Notes. Put another way, evidence of other prostitution
activity does not become admissible merely because the evidence contradicts the
minor’s statement that is itself collateral to the charges or, worse, not even
admissible. United States v. Kozinski, 16 F.3d 795, 806-06 (7th Cir. 1994) (“one may

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not contradict for the sake of contradiction; the evidence must have an independent
purpose and an independent ground for admission”).2 And the Court concludes,
after a careful review, that the proposed evidence falling into this category does not
bear sufficiently on truth-telling under Rule 608(b) to overcome the extreme danger
of unfair character judgments against the minors. So any evidence about other
sexual activity that is offered merely to contradict otherwise inadmissible
statements must be excluded.

       3. Relevant prostitution evidence. During the charged time periods, some
of the proposed evidence of prostitution is relevant and is not offered for a
prohibited purpose. Of course, the government itself will be offering evidence of
prostitution during the charged time periods—allegedly tied to Defendant—but
Defendant too is free to cross-examine the minors on prostitution during the
charged time period in order to argue that the minors acted independently of
Defendant or were being trafficked by someone else and not by Defendant. To be
sure, the evidence is not nearly dispositive, because a victim might be trafficked by
more than one person or might engage in prostitution independently and yet still be
trafficked by Defendant. But the probative value of this evidence is so important
that disallowing Defendant from cross-examining on the evidence during the
charged time periods would likely violate his Confrontation Clause and due process
rights. Fed. R. Evid. 412(1)(C).

       4. Non-sexual fact evidence. Finally, evidence of facts that do not prove
sexual behavior or sexual predisposition is not barred by the terms of Rule 412 (the
motion at hand primarily addresses Rule 412). Some of the evidence in Defendant’s
supplement is this type of evidence, that is, does not run afoul of Rule 412 because
not offered to prove sexual behavior or predisposition.

      The following chart lists the defense’s proposed evidence and the
corresponding decision.




2 The Court understands Defendant to seek not only to ask the questions on cross-
examination, but to introduce extrinsic evidence of the contradiction (that is, to perfect the
impeachment).
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                 Proposed Evidence                                            Decision
“The FBI first interviewed MINOR A on February 10,     The evidence is excluded. These inconsistencies between
2015. During that interview she stated that: she       Minors A or B are collateral to the issues at trial. Any
knew a girl, MINOR B, that messed with a man           attempt to impeach Minor A (or vice-versa with Minor B)
named Papi (George Koukos), and she went with          with this evidence would be improper impeachment.
MINOR B to Papi’s house but never had sex with
Papi. However, MINOR B contradicts this statement
and told LE that MINOR A did have sex with Papi
and contracted an STD from Papi.” Def. Supp. Mot. at
2.
“MINOR A further stated that MINOR B introduced        The evidence is excluded. Evidence of this prior
MINOR A to the stroll and MINOR B told MINOR A         prostitution activity is precluded by Rule 412.
what to do and how easy it was to make money.” Def.
Supp. Mot. at 2-3.
“MINOR A also stated that prostitutes told her that    The evidence is allowed. Evidence that prostitutes
Backpage.com was best way to get johns and that        taught Minor A about Backpage is not evidence of Minor
another prostitute, Danielle, showed MINOR A how       A’s sexual behavior, and this evidence shifts blame away
to use Backpage and use Vanilla gift cards.” Def.      from Defendant.
Supp. Mot. at 3.
“MINOR A claims that she engaged in prostitution       The evidence is excluded. To the extent this paragraph
from the end of June, 2014 until arrested November     talks about Minor A’s subsequent prostitution (that is,
24, 2014. However, numerous pieces of evidence         after the charged time period), the evidence violates Rule
contradict this statement, including subsequent        412. But if Defendant has a good-faith basis to attribute
statements made by MINOR A to LE as well as            trafficking in late November 2014 to December 2014
countless text messages from MINOR A to her            (which is encompassed by the charged time period) to
boyfriend Rickeal Hawkins. More specifically, the      Rickeal Hawkins, then that specific evidence is
evidence shows that by MINOR A’s own admissions        admissible under 412(b)(1)(C).
worked for another individual other than Allen
Young, specifically her boyfriend Rickeal Hawkins,
subsequent to her arrest on November 24, 2014.” Def.
Supp. Mot. at 3.
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“Subsequent to this meeting with law enforcement,       Decision on this evidence is reserved. Friendly text
MINOR A continued to contact YOUNG. From March          exchanges do not make it more or less likely that Young
to May 2015 they exchange numerous texts, all           trafficked Minor A. If, however, Minor A testifies that
friendly in nature. On April 25, 2015, MINOR A          Young used any force, fraud, or coercion, then the texts
solicited YOUNG for sex. YOUNG appeared to be           might be admissible to undermine that testimony. The
uncomfortable with MINOR A’s solicitations because      Court notes that some of the attached texts do not
MINOR A asked him to pick her up from her               necessarily prove “other sexual behavior” in any event, so
boyfriend’s (the father of her soon to be born child)   Rule 412 would not be the obstacle to admission.
house. It appears they nonetheless met up, and on
April 29, 2015 MINOR A asked YOUNG when they
were going to do it again.” Def. Supp. Mot. at 3-4.
“Turmoil develops in MINOR A and YOUNG’s                The evidence is allowed. None of this evidence is offered
relationship in or around May 2, 2015. MINOR A          to prove Minor A’s sexual behavior or predisposition, and
accuses YOUNG of spreading rumors that MINOR A          instead is offered to show bias against Defendant. For
has and STD. Specifically, MINOR A tells YOUNG,         this line of cross, all that it necessary is that the defense
‘Bitcb you going to jail,stop lieng you know what u     offer to prove that Minor A believed that Defendant was
said u said Gia n rocky burning bye.’ On May 16,        spreading the rumors. The truth or not of the rumors
2015, MINOR A starts another argument over text         need not be proven (and cannot be argued by the defense),
messages with YOUNG, and during that argument           but that would not be the purpose of the evidence. This
MINOR A simultaneously discusses contacting the         evidence goes to bias and does not violate Rule 412.
FBI with her “STOP-IT” counselor. MINOR A meets
with the FBI three weeks later and for the first time
tells LE about YOUNG.” Def. Supp. Mot. at 4.




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“MINOR A’s second meeting with law enforcement            The evidence is excluded. Because Defendant is trying
was on June 11, 2015, during which she stated that        here to elicit evidence of Minor A’s alleged subsequent
she: Previously worked with pimp named Allen              acts of prostitution (that is, outside the charged time
STRONG, and that she met him on the stroll in June        periods), the evidence goes to a collateral matter.
2014 with MINOR B. These statements are                   Whether Minor A continued engaging in commercial sex
contradicted by her initial statement to LE. MINOR        is immaterial to the question of whether Young trafficked
A told LE that she stopped working after becoming         her from June to December 2014, this would be improper
pregnant with her boyfriend, which is contrary to the     impeachment.
evidence. Mr. YOUNG should be able to impeach
MINOR A with her subsequent acts of prostitution to
because it shows her lack of credibility, i.e. that she
continuously lied to the FBI.” Def. Supp. Mot. at 4.
“MINOR A’s third meeting with law enforcement was         The evidence is tentatively allowed. As noted during the
on November 16, 2015, during which she stated that        pretrial conference (when discussing the government’s
she engaged in sex with YOUNG more than 100               motion to allow evidence of Minor A’s sexual contact with
times; that YOUNG would give MINOR A money;               Young as a “thing of value” under § 1591(a)(2), it appears
that the sexual activity would occur in YOUNG'S           that the government already will be offering this evidence
vehicle or at his residence … All of these acts support   and that it is not in dispute. Really the parties simply
the theory that YOUNG did not recruit, entice,            have a different characterization of what inferences
harbor, provide, obtain, or maintain by any means         should be drawn from the evidence, which is what the
MINOR A. Instead, this evidence shows that YOUNG          jury will decide.
was client who MINOR A freely used and
manipulated.” Def. Supp. Mot. at 5.
“MINOR A traded photos of her breasts to YOUNG            The evidence is excluded. Rule 412 squarely bars this
for $20 while pregnant; and that she last saw Young       evidence of other sexual behavior.
three weeks ago when she performed oral sex on
Young in exchange for $60.” Def. Supp. Mot. at 5.
“Additionally,     these   meeting     with    YOUNG      The evidence is excluded. This evidence would impeach
subsequent to two meetings with the FBI, show that        a collateral matter, that is, prostitution activity outside
she was still engaging in prostitution contrary to her    the charged time period.
claims to LE.” Def. Supp. Mot. at 5.


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“MINOR B was arrested July 9, 2014 by the Chicago      The evidence is excluded. There is no factual premise for
Police Department for prostitution when she agreed     impeachment by omission. The motion proffers only that
to perform a sex act on an undercover Chicago police   Minor B “did not claim” that she was working for
officer. The defense should be able to cross-examine   Defendant. But there is no reason to believe (at least on
her about this arrest and the fact that she did not    the record before the Court) that she was asked about
claim she was working for YOUNG.” Def. Supp. Mot.      whom she was working for.
at 5.
“The following day the FBI interviewed MINOR B         The evidence is excluded. For the same reasons
and during that interview she stated: that both        discussed earlier, these inconsistencies between Minors A
MINOR A and MINOR B started prostituting and           or B are collateral to the issues at trial. Any attempt to
began dating a ‘Trick’ nicknamed Papi and that         impeach Minor A (or vice-versa with Minor B) with this
MINOR A told MINOR B she had unprotected sex           evidence would be improper impeachment.
with Papi and gave him STD. This of course,
impeaches the statements and anticipated testimony
of MINOR A and the defense should be able to cross-
examine on this topic as it goes directly to the
credibility of MINOR A.” Def. Supp. Mot. at 5-6.
“On June 19, 2015, MINOR B was arrested by the         The evidence is excluded. In light of the narrowing of
Chicago Police Department while walking stroll and     the indictment, the evidence is not relevant and is barred
told CPD she was doing it to make money; she will      by Rule 412. Also, absent evidence that Minor B was
keep on working and nothing will stop her. During      specifically asked by law enforcement whether she was
this encounter with LE, MINOR B does not mention       working for someone, the fact that she did not mention
working for YOUNG. This rebuts the allegations that    Defendant provides no factual premise for impeachment
YOUNG recruited, enticed, harbored, provided, or       by omission.
maintained by any means MINOR B. Instead,
MINOR B clearly wanted to do this herself whether
YOUNG was in the picture or not.” Def. Supp. Mot. at
6.
“MINOR B’s second meeting with law enforcement /       The evidence is tentatively excluded. The statement is
FBI was on June 19, 2015, during which she stated:     collateral unless the government introduces evidence
that she does not post on backpage …” Def. Supp.       that Minor B did post on Backpage. If that happens, ten
Mot. at 6.                                             then Defendant may offer the statement for

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                                                       impeachment—if Minor B was saying that she has never
                                                       posted on Backpage (as opposed to explaining she did not
                                                       currently post on Backpage in June 2015).
“MINOR B’s second meeting with law enforcement /       The evidence is allowed. The evidence is not offered to
FBI was on June 19, 2015, during which she stated:     prove Minor B’s sexual behavior or predisposition under
… MINOR B contacted YOUNG after MINOR B got            Rule 412. Based on discussion at the pretrial conference,
in argument with her mother and YOUNG said she         there is no dispute that Minor B stayed with and had sex
could stay in his basement; YOUNG only wanted sex      with Defendant. Rather, each side has different theories
from MINOR B for her to stay with him and work         as to whether Defendant was a trafficker or a customer.
security; MINOR B worked the stroll, earned money      The two sides are free to argue those different case
from two clients that she did not give to YOUNG; and   theories to the jury. The statements, even to the extent
MINOR B claimed Young just wanted to have sex.”        they are about sex are not offered to prove any other
Def. Supp. Mot. at 6.                                  sexual behavior or predisposition, and thus do not violate
                                                       Rule 412.
“On July 2, 2016 MINOR B was stopped by law            The evidence is allowed. The indictment charges
enforcement while working ‘the stroll.’ During that    Defendant with trafficking Minor B “in or about June
encounter she stated that YOUNG recently               2016.” The statements offer a direct contradiction to the
approached her and asked her to come work for him.     government’s contention that Minor B worked for
MINOR B said that she denied YOUNG’s offer and         Defendant during that time. The evidence may only be
only worked alone.” Def. Supp. Mot. at 6.              offered for that contradiction, rather than any propensity
                                                       purpose. Rule 412(b)(1)(C) demands that Defendant be
                                                       able to offer this evidence
“At this encounter MINOR B also claims that she was    The evidence is excluded. Evidence of subsequent
arrested for prostitution in Maywood, Illinois.” Def.  prostitution violates Rule 412.
Supp. Mot. at 6-7.
“The evidence, via her text messages establishes that Decision on this evidence is reserved. If the texts are
she is posting on Backpage and not working with from the June-July 2016 time period, then they would be
YOUNG.” Def. Supp. Mot. at 7.                         relevant to refuting the charge that Defendant trafficked
                                                      Minor B “in or about June 2016.” But the texts might
                                                      reach a Rule 403 tipping point. Defendant must file
                                                      (under seal or redacted as needed) the texts as an exhibit
                                                      to the Rule 412 motion by January 31, 2018.

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“MINOR B’s third meeting with law enforcement /           Decision on this evidence is reserved. Although the
FBI was on July 6, 2016, during which she stated:         meeting with law enforcement was in July 2016, it is
Rickael Hawkins had MINOR A working as prostitute         unclear what time period Minor B was discussing. If
so he could purchase van. This supports defense           Minor B saw Hawkins prostitute Minor A during the
theory that YOUNG was a client and not a pimp and         charged time period, then the evidence rebuts the
that MINOR A was trafficked by Rickael Hawkins.           contention that Defendant trafficked Minor A. That
This further supports the position that MINOR D was       evidence would be admissible under Rule 412(b)(1)(C). If
mistaken / unsure who picked her up. MINOR A              Minor B told this to law enforcement based on statements
claims that it was YOUNG but MINOR B claims               made to her by Minor A (in contrast to personally
MINOR A was prostituted by Rickeal Hawkins.               observing it), then Defendant might be able to perfect the
Furthermore, this corroborates claims made by             impeachment of Minor A on this point by cross-examining
MINOR A that she worked for Rickeal Hawkins. In           Minor B on the statements. If Minor B was referring to
addition, this evidence is probative of MINOR A’s         periods outside of those charged in the indictment as to
motivation to lie. Rickeal Hawkins is the father of her   Minor A, then the evidence is barred by Rule 412.
child and it is reasonable to assume that she would       Defendant shall attach the pertinent report and describe
want to protect him and thus point the                    the time period in the Additional Supplement due by
finger at YOUNG.” Def. Supp. Mot. at 7.                   January 31, 2018.
“MINOR B further states that on June 21, 2016             This evidence is allowed. The alleged events took place
YOUNG took her on outcalls where she made $250.00         in the charged period as to Minor B, so they are not prior
after which YOUNG took her home. MINOR B said             or subsequent prostitution. It appears that the parties
YOUNG did not take her money, but just wanted             simply disagree on whether this qualifies as Defendant
MINOR B in his presence and wanted to have sex            having obtained anything of value.
with her. This evidence shows that MINOR B was
working for herself and rebuts the allegations that
YOUNG recruited, enticed, harbored, provided, or
maintained by any means MINOR B.” Def. Supp.
Mot. at 7-8.
“MINOR B met with law enforcement / FBI was on            The evidence is allowed (or at least not barred by Rule
July 12, 2016, during which she stated that: recently,    412). The evidence is not covered by Rule 412, because it
YOUNG found MINOR B on street; YOUNG wanted               does not prove sexual behavior or predisposition by Minor
to start sexual relationship with MINOR B …” Def.         B so long as the evidence avoids using on the “street” and
Supp. Mot. at 8.                                          instead simply elicits that Defendant proposed a sexual

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                                                       relationship with Minor B.
“…MINOR B had dates and would use money, Decision on the evidence is reserved. If the evidence of
clothes, phone and marijuana; …” Def. Supp. Mot. at “dates” is from the charged time period, then it would be
8.                                                     allowed. Defendant shall address the time period
                                                       (including attaching the report as needed) in the
                                                       Additional Supplement due by January 31, 2018.
“…MINOR C is 18 and MINOR C told MINOR B she The evidence is tentatively excluded. Based on the July
is going to work for YOUNG.” Def. Supp. Mot. at 8.     2016 interview, Minor B seems to be referring to acts
                                                       after the charged period for Minor C (the charged period
                                                       is in or about 2014 and continuing until in or about 2015),
                                                       which violates Rule 412. Defendant may proffer any
                                                       evidence that Minor B was referring to the charged time
                                                       period for Minor C in the Additional Supplement by
                                                       January 31, 2018.
“The defense needs to cross-examine MINOR B’s acts The evidence is excluded. Prior and subsequent acts of
of prostitution before and after meeting YOUNG is prostitution are direct violations of Rule 412 and are
relevant because it reveals her continuous and irrelevant (or, at least, violate Rule 403) to proving that
consistent claims that that she worked for herself and Young did not traffic Minor B during the charged periods.
not pimps, or Mr. YOUNG.” Def. Supp. Mot. at 8.
“MINOR D’s first meeting with law enforcement was The evidence is excluded. Because the attempt charge as
on February 18, 2016, during which she stated: that to Minor D pertains to the one occasion where no
she had been involved in acts of prostitution since commercial sex act occurred, then the testimony is not a
February 2015 (about 1 year) …” Def. Supp. Mot. at 8. direct contradiction of the charge and would violate Rule
                                                       412.
“[Minor D] was introduced to prostitution by India; The evidence is excluded. As explained above, this type
she does both incalls and outcalls; two outcalls per of prior prostitution evidence violates Rule 412 and is not
day, 3-4 days week; outcalls located in downtown relevant (or, at least, would violate Rule 403) to whether
area; never worked hotels/motels; …” Def. Supp. Mot. Young attempted to traffic Minor D on the charged
at 8.                                                  occasion.
“[Minor D] has known MINOR A for 5-6 years …” Def. The evidence is allowed (or at least not barred by Rule
Supp. Mot. at 8.                                       412). The length of the relationship is not offered to show
                                                       sexual behavior, so Rule 412 is not triggered.

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“ [Minor D] claims MINOR A does her own thing and Decision on the evidence is reserved. If Minor D was
does not work for anyone …” Def. Supp. Mot. at 8.   referring to the time that Defendant is charged with
                                                    trafficking Minor A, then the evidence is admissible to
                                                    directly rebut the government’s contention that
                                                    Defendant trafficked Minor A. The evidence is
                                                    inadmissible if Minor D is not referring to the charged
                                                    time period (or if Minor D has no foundation for this
                                                    assertion). Defendant shall address the time period in the
                                                    Additional Supplement due by January 31, 2018.
“…[Minor D] has spoken to MINOR A about her The evidence is excluded. Whether Minor A walked the
prostitution and MINOR A told her she only posts on stroll before meeting Defendant is collateral, so
Backpage and never worked stroll.” Def. Supp. Mot. impeaching Minor A on that point is improper
at 8.                                               impeachment.
“MINOR D does not mention working with MINOR A The evidence is allowed, but limited. If Minor D was
or going on outcall with her which is contrary to asked in an interview to describe all of her prostitution
MINOR A’s statements to law enforcement.” Def. activities (so the description overlaps the time of the
Supp. Mot. at 8-9.                                  attempt charge), then the evidence is admissible to rebut
                                                    the evidence that Defendant attempted to traffic Minor D
                                                    along with Minor A. But Defendant can only ask Minor D
                                                    about the omission, and cannot otherwise introduce
                                                    evidence of other prostitution by Minor D.
“Additionally, MINOR D also denies knowing The evidence is allowed. Minor D’s statement that she
YOUNG …” Def. Supp. Mot. at 9.                      does not know Defendant is relevant to refuting that
                                                    Defendant attempted to traffic her, and is not offered to
                                                    prove sexual behavior predisposition.
“…and never mentions working with MINOR A or The evidence is excluded, aside from the impeachment
working with ‘pimps.’ All of this clearly impeaches by omission that Minor D did not say that she worked
MINOR A and rebuts that Mr. YOUNG recruited, with Minor A. Other than that, evidence Minor D’s prior
enticed, harbored, provided, or maintained by any prostitution is barred by Rule 412.
means MINOR A. This evidence also shows MINOR D
began working as a prostitute prior to meeting
YOUNG and supports YOUNG’s contention that he

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did not recruit, entice, harbor, provide, or maintain by
any means MINOR D.” Def. Supp. Mot. at 9.
“MINOR D’s second meeting with law enforcement             The evidence is allowed. Minor A’s statement to Minor D
was on March 14, 2016, during which she stated that        goes to the reliability of Minor D’s later identification of
she called MINOR A after FBI interview on February         Defendant as the person who attempted to traffic her.
18, 2016 and told her about a picture of man; MINOR        The remainder of the evidence will be substantially
A told MINOR D that she knew the man in the                introduced by the government as the basis for the
picture and that the man picked her up once. MINOR         attempt.
D claims that early 2015 she was called by MINOR A
and asked to go to someone's house and she agreed to
go with MINOR A; went to outcall with MINOR A;
did not have sex with the client; and when she
returned to car, the man did not ask for money nor
talk about not having sex.” Def. Supp. Mot. at 9.
“The government intends to call Brooke McCarty as a        The evidence is excluded. Evidence of witness McCarty’s
witness to attempt to corroborate the testimony of         prior prostitution is not relevant to the charges. And
MINOR B. During an interview with the FBI on,              introducing evidence of another relationship in order to
September 8, 2016, McCarty stated, among other             draw an analogy to this case is rejected: anecdotal
things, that she had a friend named OSCAR and that         evidence of this other relationship has no bearing on the
OSCAR had driven her around to dates on occasion           likelihood of Defendant having that same sort of
but was not a pimp. OSCAR would get a crush on             relationship.
different females and then would drive them around
as a favor. The defense position is that this
arrangement between OSCAR and MCCARTY was
identical to that of YOUNG and MINOR A, B, & C.
The defense should be able to cross-examine
MCCARTY about this arrangement / relationship
with OSCAR as it supports the defense position that
this type of relationship could exist in the world of
prostitution, and because a jury would likely find it
unbelievable that YOUNG just wanted to be in the
presence of MINOR A, B & C.” Def. Supp. Mot. at 10.

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The government may respond to the Additional Supplement by February 6, 2018.

                                                 ENTERED:



                                                       s/Edmond E. Chang
                                                 Honorable Edmond E. Chang
                                                 United States District Judge

DATE: January 20, 2018




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